              Case 22-11068-JTD        Doc 1802      Filed 06/29/23    Page 1 of 4




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

____________________________________
In re:                                )           Chapter 11
                                      )
FTX TRADING LTD., et al.,             )           Case No. 22-11068 (JTD)
                                      )           (Jointly Administered)
      Debtors.                        )           Hearing Date: July 19, 2023 at 1:00 pm
_____________________________________ )           Objection Deadline: July 12, 2023 at 4:00 pm


  MOTION OF 101 SECOND STREET, INC. FOR ALLOWANCE AND PAYMENT OF
  ADMINISTRATIVE CLAIM PURSUANT TO 11 U.S.C. §§ 503(B)(1)(A), AND 507(A)

        101 Second Street, Inc. (“Landlord”), a landlord from which the Debtors leased real

 property, by and through its undersigned counsel, hereby requests the entry of an order granting

 Landlord an allowed administrative expense claim pursuant to 11 U.S.C. §§ 365(d)(3) and

 503(b)(1)(A) of title 11 of the United States Code (the “Bankruptcy Code”), and requiring

 immediate payment thereof, and states as follows:

                                           Jurisdiction

        1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B). Venue is proper pursuant to

 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested herein are Bankruptcy

 Code sections 364(a), 503(b)(1)(A) and 507(a)(2).

                                          Background

        2.     On November 11, 2022 (the “Petition Date”), the above-captioned debtors filed

 voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

        3.     The Debtors leased real property from Landlord pursuant to a lease (the “Lease”)

 as shown below in Table 1:
             Case 22-11068-JTD           Doc 1802     Filed 06/29/23    Page 2 of 4




TABLE 1:

 Property Name           Property Location          Landlord
 101 Second Street       San Francisco, CA          101 Second Street, Inc.



       4.      Landlord’s administrative expense claims consist of post-petition use and

occupancy charges due from Debtors that arose under the Lease on and after the Petition Date. See

11 U.S.C. §§ 503(a), 503(b)(1)(A), and 365(d)(3).

       5.      Under the terms of the Lease, Debtors are required to make certain payments arising

out of their use and occupancy of the Premises. These payments include such items as rent and

related charges, common area maintenance obligations, real property taxes, and all other charges

imposed by the Lease, including year-end adjustments and reconciliations for charges that are paid

on an estimated basis. Debtors have not paid all obligations that have arisen or accrued during the

post-petition period, and certain amounts remain due and owing for the period from the Petition

Date through and including the date of rejection (the “Administrative Claim Period”).

       6.      Landlord is entitled to administrative expense claims for such obligations in the

total amount of $189,947.28 (the “Claim”), plus indemnity obligations, amounts subject to setoff

and/or recoupment and attorneys’ fees.

                                         Requested Relief

       7.      By this Motion, Landlord respectfully requests the entry of an Order granting

Landlord an administrative expense claim in the amount of $189,947.28 pursuant to Bankruptcy

Code Sections 365(d)(3), 503(b)(1)(A) and 507(a).

                                   Basis for Relief Requested

       8.      Section 507(a)(2) provides that “administrative expenses allowed under section

503(b) of this title” shall have second priority status under the Bankruptcy Code. Moreover,


                                                2
              Case 22-11068-JTD          Doc 1802      Filed 06/29/23      Page 3 of 4




Bankruptcy Code section 503(b)(1)(A) provides that “[a]fter notice and a hearing, there shall be

allowed administrative expenses, . . . including . . . the actual, necessary costs and expenses of

preserving the estate[.]” See 11 U.S.C. § 503(b)(1)(A).

        9.     In determining whether administrative priority under Section 503(b)(1)(A) is

proper, bankruptcy courts generally apply a two-pronged test. First, there must be a post-petition

transaction between the creditor and the debtor. Second, the estate must benefit from the

transaction. E.g., In re Garden Ridge Corp., 321 B.R. 669, 676 (Bankr. D. Del. 2005) (citing In

re Waste Systems Int’l, Inc., 280 B.R. 824, 826 (Bankr. D. Del. 2002)).

        10.    In the present case, as indicated above, Landlord provided the leased premises to

the Debtors following the Petition Date. Accordingly, the first prong of the Garden Ridge test is

satisfied.

        11.    Second, Debtors’ occupancy of the leased premises clearly benefited the Debtors’

estates as such occupancy was relied upon by the Debtors during the Debtors’ post-petition

operations. See TransAm. Nat. Gas Corp., 978 F.2d 1409, 1420 (5th Cir. 1992) (“Although the

estate receives a benefit that often can be measured by the actual cost of necessary goods or

services supplied, the estate also receives other less readily calculable benefits, such as the ability

to continue in business as usual.”). Accordingly, the Claim also meets the second prong of the

Garden Ridge test.

        12.    Based on the foregoing, because the Claim satisfies both prongs of the test for

administrative expense status, the Claim should be allowed as an administrative expense claim in

pursuant to section 503(b)(1)(A) of the Bankruptcy Code for all time periods.

        13.    Section 365(d)(3) of the United States Bankruptcy Code and applicable case law

require a trustee to pay timely and as an administrative expense claim all post-petition rent and



                                                  3
                Case 22-11068-JTD         Doc 1802     Filed 06/29/23      Page 4 of 4




related charges until an unexpired lease is rejected. See 11 U.S.C. § 365(d)(3) (“[t]he trustee shall

timely perform all the obligations of the debtor . . . arising from and after the order for relief under

any unexpired lease of non-residential real property, until such lease is assumed or rejected,

notwithstanding section 503(b)(l) of this title”); 11 U.S.C. § 503(a).

        14.         Further, the clear language of § 365(d)(3) requires the Trustee to perform an

obligation when the legally enforceable duty to perform arises under that lease. See In re

Montgomery Ward Holding Corp., 268 F.3d 205, 209 (3d Cir. 2001). Accordingly, when the lease

requires the debtor to reimburse the landlord for certain obligations, the debtor’s obligation to

make timely payment arises after the petition, but before rejection of rent as it comes due. See In

re Goody’s Family Clothing, Inc., 392 B.R. 604, 610-14 (Bankr. D. Del. 2008); Towers v.

Chickering & Gregory (In re Chickering & Gregory), 27 F.3d 401, 403 (9th Cir. 1994)

(“section 365(d)(3) created an immediate obligation to pay the full amount of the rent specified by

the lease. . .”).

        WHEREFORE, pursuant to Bankruptcy Code Section 503(b)(1)(A), Landlord requests the

entry of an Order (i) granting and allowing the Claim against the Debtors as an administrative

expense claim in the amount of $189,947.28; and (ii) granting such other and further relief as is

just and proper.

Dated: June 29, 2023                           /s/Garvan F. McDaniel
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